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                     EXHIBIT 1
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                      IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                WESTERN DIVISION
                                    (TOLEDO)



 CAROLYN CHAPMAN                                )   CASE NO.
 9813 OAK BEND DRIVE                            )
 HOLLAND, OHIO 43528,                           )   JUDGE: HON.
                                                )
                       PLAINTIFF,               )
                                                )
        v.                                      )
                                                )
 UNIVERSITY OF TOLEDO                           )
 C/O STATE OF OHIO                              )
 30 E. BROAD STREET, 14TH FLOOR                 )
 COLUMBUS, OH 43215                             )
                                                )
                   DEFENDANT.                   )
 ____________________________________/              __________________________________/

     COMPLAINT WITH DEMAND FOR JURY TRIAL ENDORSED HEREUPON
   ________________________________________________________________________


       NOW COMES the Plaintiff, Carolyn Chapman, by and through her undersigned attorney,

Norman A. Abood, and for her Complaint against the University of Toledo states as follows:

                                 I. PRELIMINARY STATEMENT

       1.     Plaintiff, Carolyn Chapman (“Plaintiff” or “Ms. Chapman”) is an African American

female who worked at the University of Toledo (“University”) from April 30, 2007, until her race-

based, retaliatory termination on January 15, 2021. During her time at the University, Ms.

Chapman held multiple Human Resource roles with her most recent title being Director- Human

Resources Clinical Operations. In this role, Ms. Chapman was tasked with overseeing the

University Medical Center’s Human Resources (“HR”) department. During her time in her most



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recent role, Ms. Chapman reported to former Associate Vice President of HR Wendy Davis and

after Ms. Davis’ termination, to Executive Director of Talent Strategy and Development, Melissa

Hurst, a Caucasian Female, and to John Elliott, a Caucasian Male who was Senior Associate Vice

president/Chief Human Resources Officer.

       2.      On October 14, 2020, Plaintiff, Mr. Elliott, suddenly and without warning, served

a 90-day Notice of Termination upon Ms. Chapman, a true and accurate copy of which is attached

hereto and made a part hereof as Exhibit 1.

       3.      As a result of her termination, Plaintiff filed charges of race discrimination and

retaliation with the Ohio Civil Rights Commission (OCRC) and the Equal Employment

Opportunity Commission (“EEOC”), in the case captioned Carolyn Chapman v. the University of

Toledo, assigned OCRC case no. TOL72(41356)03012022 and EEOC number /22A-2022-

01451C.

       4.      Mr. Elliott had begun his employment at the University only nine (9) days before

Ms. Chapman’s 90-day notice was served.

       5.      Ms. Hurst had begun her employment with the University only fourteen (14) days

before Ms. Chapman’s 90-day notice was served.

       6.      Notwithstanding that Ms. Chapman had been employed with the University for 13

years, Defendant fired her allegedly for poor performance.

       7.      Ms. Chapman possesses a graduate degree in Organizational Management, is a

Professional in HR management (PHR), and has over 25 years of experience working in HR,

including 13 years with the Defendant University of Toledo.

       8.      Ms. Chapman did not receive any discipline prior to the termination of her

employment.



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       9.      Ms. Chapman was replaced by her former subordinate, a Caucasian person.

       10.     Other African American employees in upper management have also been fired and

were replaced by Caucasian employees.

       11.     The Ohio Civil Rights Commission (“OCRC”) has found probable cause in at least

six (6) similar cases of race discrimination against Defendant within the past two (2) years.

       12.     On November 17, 2022, the OCRC issued its Letter of Determination finding after

an investigation that it was probable that the University of Toledo had discriminated against Ms.

Chapman by imposing upon her different terms and conditions of employment and terminating her

on the basis of race. A true and accurate copy of the OCRC Letter of Determination is attached

hereto and made a part hereof as Exhibit 2.

       13.     On December 15, 2022, the OCRC issued to Ms. Chapman its Notice of Right to

Sue, a true and accurate copy of which is attached hereto and made a part hereof as Exhibit 3.

       14.     On February 24, 2023, The EEOC issued its Notice of Right to Sue Within 90 Days,

pursuant to Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. 2000e, et seq. A true

and accurate copy of the EEOC is attached hereto and made a part hereof as Exhibit 4.

       15.     As the Court is aware the Courts use the same legal standards to analyze

discrimination claims brought under Title VII or O.R.C. 4112, see, e.g., Jones v. Best Buy Stores,

L.P., (6th Cir. 2010) 2010 U.S. Dist. LEXIS 8761, *16, 2010 WL 446577 citing Mitchell v. Toledo

Hosp., 964 F.2d 577, 582-83 (6th Cir. 1992) and Little Forest Medical Ctr. of Akron v. Ohio Civ.

Rights Comm., 61 Ohio St. 3d 607, 575 N.E.2d 1164, 1167 (Ohio 1991); accord, BecaRachells v.

Cingular Wireless Emple. Servs., LLC, 732 F.3d 652, 661, 2013 U.S. App. LEXIS 20979, *19,

2013 FED App. 0295P (6th Cir.), 11, 120 Fair Empl. Prac. Cas. (BNA) 681, 97 Empl. Prac. Dec.

(CCH) P44,931, 2013 WL 5645239.



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                                            II. THE PARTIES

        16.     Plaintiff repeats and reiterates each and every allegation set forth in paragraphs 1

through 15 hereinabove as if fully rewritten herein.

        17.      Plaintiff, Carolyn Chapman, is an African American female who at all times

relevant hereto has resided within the City of Toledo, Lucas County, Ohio.

        18.     The Defendant, University of Toledo (hereinafter alternatively referred to as

(“University”), operates as State University organized and existing under the laws of the State of

Ohio.

                                    III. JURISDICTION AND VENUE

        19.     Plaintiff repeats and reiterates each and every allegation set forth in paragraph 1

through 18 hereinabove, as if fully rewritten herein.

        20.     This action arises under Title VII of the 1964 Civil Rights Act, 42 U.S.C. §2000e-

2 (Title VII)1, 1988 (Civil Rights Attorney Fee Award Act of 1976)2 and Ohio Revised Code

Section 4112.01 et. Seq.




1
  Per the summary provided by the U.S. Department of Justice: "42 U.S.C. §2000e-2 makes it
unlawful to discriminate against someone on the basis of race, color, national origin, sex (including
pregnancy and gender identity) or religion. The act also makes it unlawful to retaliate against a
person because the person complained about discrimination, filed a charge of discrimination, or
participated in an employment discrimination investigation or lawsuit. The statute prohibits not
only intentional discrimination, but also practices that have the effect of discriminating against
individuals because of their race, color, national origin, religion or sex."
2
  42 U.S.C. § 1988 authorizes courts to award reasonable attorney's fees to prevailing parties in
civil rights litigation to ensure effective access to the judicial process for civil rights plaintiffs; fees
may not be awarded to a prevailing defendant except where the plaintiff’s action was frivolous,
unreasonable, or without foundation.
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          21.     This Court has original jurisdiction over this action pursuant to 28 U.S.C. §1331

(Federal Question Jurisdiction) and 28 U.S.C. §1343(a) (Civil Rights Jurisdiction).

          22.     Plaintiff ‘s charge of race discrimination was timely filed with EEOC through the

OCRC Toledo Field Office.

          23.     The Court has original jurisdiction over Title VII claims filed within 90 days of a

charging party’s (Plaintiff herein) receipt of the EEOC’s right to sue letter and, thus, this Court has

jurisdiction over Plaintiff’s Title VII claims pursuant to 42 U.S.C. §2000e-5(f)(3).

          24.     Venue for this action properly lies in the United States District Court for the

Northern District of Ohio, Western Division (Toledo), pursuant to 29 U.S.C. §1391(b) because the

Defendant is located within the State of Ohio and this judicial district (29 U.S.C. §1391(b)(1)), the

claims at issue arose in this judicial district (29 U.S.C. §1391(b)(2)) and pursuant to 42 U.S.C.

2000e-5(f)(3) because the unlawful employment practices were committed in this judicial district.

                                        IV. OPERATIVE FACTS

          25.     Plaintiff repeats and reiterates each and every allegation set forth in paragraph 1

    through 24 hereinabove, as if fully rewritten herein.

          26.     Plaintiff, Ms. Carolyn Chapman, is an African American woman who had worked

    at the University of Toledo since April 30, 2007, most recently as Director of HR Clinical

    Resources.

          27.     Defendant, the University of Toledo, is a federal government contract holder who

    has a duty to comply with Executive Order 11246, As Amended, 41 CFR (§§ 60-30.1 - 60-30.37)3.

          28.     Plaintiff was hired in 2015 in the University’s Human Resources (“HR”)

    department.



3
    Executive Order 11246, as Amended, is attached as Exhibit 5 for the Court’s convenance.
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      29.     In her most recent role as Director- Human Resources Clinical Operations, Ms.

Chapman provided guidance and oversight of HR team members, employee/labor relations and

talent and performance management at the University of Toledo Medical; Center (“UTMC”).

      30.     During her employment at the University, Ms. Chapman was never disciplined or

written up for unsatisfactory work.

      31.     Ms. Chapman’s performance reviews were continuously above average.

      32.     Ms. Chapman received a ninety-day (90) Notice of Termination of Employment on

October 14, 2020, the last day of work to be January 15, 2021.

      33.     Prior to her termination, Ms. Chapman was subjected to different terms and

conditions of employment than similarly situated Caucasian employees, which disparate

treatment included, but was not limited to:

             i.      Being discharged without being put on a performance improvement plan

      (“PIP”).

             ii.     being discharged without being offered any opportunity to transfer to a

      different position within the University.

      34.     Prior to her termination by the University, the University hired two (2) Caucasian

employees who replaced Ms. Chapman’s former supervisor, Wendy Davis, being John Elliott, a

Caucasian male hired September 4, 2021, and Melissa Hurst, a Caucasian female hired September

8, 2021, Mr. Elliot & Ms. Hurst were paid a combined salary of approximately $400,000.00, plus

benefits and additional spending allowances, being over $80,000.00 more in cost to the University

per year.




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          35.    Both Mr. Elliott and Ms. Hurst were hired without their “new” job positions having

    job descriptions approved in accord with Ohio State law and regulations4.

          36.    Both Mr. Elliott and Ms. Hurst were hired without their “new” job positions having

    been posted in accord with University Policy.

          37.    On information and belief, both Mr. Elliott and Ms. Hurst were friends of

    University President Postel, a Caucasian male, who had previously worked with each of them.

         38.     Per the Notice of Termination, the only reason asserted for Ms. Chapman’s

termination was that she was an “at will” employee, that the University “appreciates the work you

have done for The University and regret[s] that this action is necessary.”

         39.     As a result of the disparate, discriminatory treatment to which she was subjected,

Plaintiff filed a complaint with the OCRC and the EEOC, which resulted in an OCRC finding that

it was probable that the University had engaged in discriminating against Ms. Chapman in

violation of ORC § 4112.

         40.     As a direct and proximate result of Defendant’s wrongful and discriminatory

actions as aforesaid, Plaintiff has suffered emotional distress, mental anguish, embarrassment,

humiliation, and damage to reputation.

         41.     As a direct and proximate result of Defendant’s discriminatory actions against

Plaintiff as aforesaid, Plaintiff has suffered a loss of employment, loss of income, loss of benefits,

loss of employment opportunities, and incurred significant and ongoing attorney fees.




4
  Specifically, but not limited to, the job posting mandates to assure fairness and non-
discrimination as well as affirmative action in job hiring practices required of a Government
Contract holder (i.e., the University of Toledo) pursuant to Executive Order 11246, as amended,
and Title VII of the 1964 Civil Rights Act, as amended.
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         42.    Plaintiff has timely exhausted all administrative remedies available to her to redress

the wrongs perpetrated upon her by Defendant as aforesaid.

         43.    As detailed above, Defendant targeted Plaintiff with racial bias.

         44.    As detailed herein above, Defendant’s acts of discrimination against Plaintiff were

purposeful and undertaken with the discriminatory intent to deprive Plaintiff of her rights under

federal law.

         45.    As a direct and proximate result of the Defendant’s wrongful and discriminatory

 actions as aforesaid, Plaintiff has been denied due process of law in violation of the United States

 laws and the laws of the State of Ohio.

         46.    As a direct and proximate result of the Defendant’s wrongful and discriminatory

actions as aforesaid, Plaintiff has suffered a loss of her property interests in violation of the United

States laws.

         47.    42 U.S.C. §1988(b) allows for the award of attorney fees in an action to enforce

Title VII of the Civil Rights Act of 1964 (42 U.S.C. §§ 2000d et seq.).

         48.    42 U.S.C. §1988(c) allows for the award of expert fees as part of an attorney’s fee

award in an action to enforce Title VII of the Civil Rights Act of 1964 (42 U.S.C. §§ 2000d et

seq.).

                                    COUNT ONE
                           (DISCRIMINATION BASED ON RACE)
   TITLE VII OF THE 1964 CIVIL RIGHTS ACT, 42 U.S.C. §2000E-2 (TITLE VII), ORC 4112

         49.    Plaintiff repeats and reiterates each and every allegation set forth in paragraphs 1

through 48 hereinabove as if fully rewritten herein.

         50.    The University of Toledo is an employer in the State of Ohio.




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          51.   Plaintiff, Ms. Chapman, is a member of a protected class under Federal Law based

upon her race, African American.

          52.   Ms. Chapman was qualified for her position of employment with the University.

          53.   As a direct and proximate result of the University’s discriminatory practices

towards her as aforesaid, Ms. Chapman was subjected to multiple adverse employment actions

which culminated in her wrongful termination.

          54.   The reasons stated by Defendant for terminating Ms. Chapman are false/pretextual.

          55.   Defendant knowingly discriminated against Ms. Chapman in violation of Title VII

of the 1964 Civil Rights Act, 42 U.S.C. §2000e-2 (Title VII) and Ohio Revised Code 4112. Et seq.

          56.   As a direct and proximate result of Defendant’s actions against Ms. Chapman as

aforesaid, Ms. Chapman has suffered actual and consequential damages, including but not limited

to, loss of income, loss of employment benefits, humiliation, pain and suffering and emotional

distress, loss of enjoyment, all of which are reasonably anticipated to continue indefinitely into the

future.

          57.   The aforesaid conduct of Defendant was undertaken with malicious purpose, in bad

faith, and/or in a reckless/wanton manner, which it knew, or reasonably should have known, would

cause Ms. Chapman harm.

          58.   Defendant’s actions against Ms. Chapman as aforesaid were undertaken with such

knowledge, malice, intent to injure and/or with such reckless or wanton disregard for Ms.

Chapman’s rights as entitle her, in addition to an award of actual and consequential damages, to

an award of punitive damages, and/or attorney fees.

          WHEREFORE, Plaintiff, Ms. Carolyn Chapman, respectfully prays for judgment against

Defendant as follows:



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   (A) That per Count One (Discrimination) she be awarded judgment against Defendant for

      actual and compensatory damages, including, but not limited to, the amount of all salary

      and the value of all benefits lost due to the Defendant’s discrimination for actual and

      compensatory damages in an amount in excess of $25,000, the full extent of which shall

      be proven at trial, and that she have an award of punitive damages against Defendant in an

      amount determined by the jury, but not less than three (3) times the amount of the actual,

      and compensatory damages awarded to her; and further that she be awarded reasonable

      attorney fees and costs;

   (B) That she be awarded such other and further judgment against the Defendant as the Court

      deems just or equitable.



Dated: ______________                        Respectfully Submitted.

                                             THE LAW OFFICE OF NORMAN A. ABOOD
                                             /s/ Norman A. Abood
                                             Norman A. Abood (OH. Sup. Ct. #0029004)
                                             101 Broadcast Building
                                             136 N. Huron Street
                                             Toledo, OH 43604
                                             Phone:        419-724-3700
                                             Fax:          419-724-3701
                                             E-Mail:       Norman@nabood.com
                                             - Attorney for Plaintiff


                                       JURY DEMAND

      Plaintiff demands trial by jury on all issues so triable herein.

                                                     /s/Norman A. Abood
                                                     Norman A. Abood




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 October 15, 2020

 Carolyn Chapman



c/o HAND-DELIVERED

Dear Carolyn,

I regret to inform you that your employment with The University of Toledo In your capacity as Dire ctor,
HR Clinical Operations, Human Resources, will end at the close of business on January 15, 2021. This
letter serve s as your 90-day notice as provided for by university policy. In accordance with your
appointment within the unclassified civil service in the State of Ohio, you serve In an "at-will" capacity
and your employment status can be modified at any time.

During the 90-day notice period, your services will not be needed by The University of Toledo or
University of Toledo Medical Center, and you will be relieved of all duty. However, you will be paid your
full salary through the date above as well as be covered by any health care benefits for which you
currently may have coverage through January 2021. After that time, Information will be sent to your
home regarding eligibility for con tinued COBRA benefits.

Should you find other employment during this 90-day period, you must immediately notify your
supervisor and the Human Resources Department, and the effective date of separation shall be changed
accordingly. You will be paid your salary through January"lS, 2021 and medical benefits shall terminate
at the end of the month of your last day worked or January 31, 2021.

Human Resources representatives are available to answe r question s regarding your benefits, as w ell as
provide you with information regarding resources available to assist you in this transition.

We appreciate the work that you have done for The University of Toledo and regret that this action is
necessary. We are confident that you will work closely with us in this difficult transition time.


         ly,t ~
 enior Associate Vice President and Chief Human Resources Officer

cc:       Benefits
          Personnel FIie




                                                      Human Hesourn•s
                              M,111 Stop 205 • 21l01 W. ll~ncroft St. • Toledo, Ohio 43606-3390
                           Phone: 419.53().4747 • l';i~: •119.5..10.1490 • www.utolc<lo.edu/dcpls/hr
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                 OHIO CIVIL RIGHTS COMMISSION
                                               Governor Mike DeWine
Commissioners: Lori Barreras, Chair I J. Rita McNeil Danis h I William Patmon, Ill I Madhu Singh I Charlie Winburn
                                      Execu tive Director Angela Phelps-Wh ite



November 17, 2022                                          Date Mailed: November 18, 2022

Carolyn Chapman                                            Bethany Ziviski, Interim Sr. A VP/CHRO
9813 Oak Bend Avenue                                       The University of Toledo
Holland, OH 43528                                          280 I W. Bancroft Street,
carolyn.chapman.ph r@outlook.com                           Human Resources, MS 205
                                                           Toledo, OH 43606
                                                           Bethany.Ziviski@utoledo.edu


                                   LETTER OF DETERMINATION
                               Carolyn Chapman v. The University of Toledo
                                TOL72(41356)03012022/22A-2022-01451 C

FINDINGS OF FACT:
Charging Party filed a charge of discrimination with the Ohio Civil Rights Commission alleging
Respondent engaged in an unlawful discriminatory practice. All jurisdictional requirements for filing a
charge have been met.

After receiving the charge, the Commission conducted an investigation into Charging Party's allegation(s)
against Respondent. During the investigation, the Commission considered relevant documents and
testimony. The information gathered does support a recommendation that Respondent unlawfu lly
discriminated against Charging Party.

There is no information to support Charging Party was denied promotional opportunities and subsequently
terminated based on Charging Party's participation in a statutorily protected activity. Therefore, it is a No
Probable Cause on these issues.

Respondent is a student-centered, public metropolitan research university with 20,500 students located in
Toledo, Ohio. Respondent denies Charging Party's allegations of discrimination.

Charging Party alleges she was denied promotional opportunities and subsequently terminated due to
her race and participation in a statutorily protected activity.

Respondent states Charging Party was not a legitimate candidate to hold one of the two highest positions
in Respondent's Human Resources Department when she could not adequately perform a lower-level
role. Respondent states Charging party had never held an upper-level human resources position in her
entire career.




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Respondent denies Charging Paity's allegations. Respondent states Charging Party was issued a 90-day
notice due to not having any human resource strategy, no planning, and no workforce planning.
Respondent fmther alleges executive recruiting efforts were poor, which resulted in staffing issues at
Respondent's medical center. Respondent states Charging Patty's subordinates did not feel supported and
were afraid of her. Respondent states a request had been made to terminate Charging Party for her alleged
performance issues. Charging Party had been employed by Respondent since April 30, 2007, most recently
as Director, HR Clinical Operations. Charging Patty's job duties included, providing guidance and
oversight of the assigned Human Resources team members within the clinical enterprise, being ultimately
responsible for enhancing the trusted partnership with the leaders of the assigned business units in the
areas of employee/labor relations, compensation, employment, talent and performance management, and
other related human resources matters.

Information shows the position of Senior Associate Vice President/Chief Human Resources Officer was
filled by John Elliott, Caucasian, and the Executive Director of Talent Strategy and Development position
filled by Melissa Hurst, Caucasian, were not posted.

According to Respondent's Policy Number: 3364-25-113 - Recruitment of Personnel and Hiring
Procedures, "All full time classified and unclassified position openings at the University are posted on the
University's Employment Opportunity site located at http://jobs.utoledo.edu."

Information shows on October I, 2020, Melissa Hurst assumed the position of Executive Director of
Talent Strategy and Development. Information reveals Ms. Hurst had minimal experience/educatiou in
Human Resources and held no Human Resource ce1tifications. Ms. Hurst's educational background
consists of an undergraduate degree in Journalism and Mass Communications, a graduate degree in Higher
Education, and a doctorate degree in Educational Psychology.

Documentation supports Charging Party possesses a graduate degree in Organizational Management,
holds a Professional in Human Resources certification (PHR), and has over 25 years' experience in the
field of Human Resources, with thirteen of those years being employed by Respondent. Although
Respondent stated Charging Party never held an upper-level human resource position, Charging Party was
in upper-level management employed by the Respondent as Director of HR/Clinical Services. Information
supports Charging Party was demonstrably qualified for the position of Executive Director of Talent
Strategy and Development based on her experience and credentials.

Information further shows, Mr. Elliott served Charging Patty with a 90-day notice on October 14, 2020,
nine days after assuming his role as Senior Associate Vice President/Chief Human Resources Officer and
only after meeting with Charging Party once during those nine days. Mr. Elliott states the decision to
terminate Charging Party was based on feedback he received from Chief Executive Officer, Richard
Swaine, Caucasian, and Chief Operating Officer, Christine Stesney-Ridenhour, Caucasian, of The
University of Toledo Medical Center, as well as Respondent's newly appointed Executive Director of
Talent Strategy and Development, Melissa Hurst, Caucasian. Charging Party's last day of work
subsequent to the 90-day notice was Januaiy 15, 2021.
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Mr. Elliott states the feedback provided from these individuals stated Charging Party lacked any leadership
planning, metrics, data, workforce strategy, and Charging Party's subordinates had reported they were
afraid of her. However, witness information indicates Charging Party expected salaried employees under
her supervision to strictly adhere to policy.

The investigation does not support employees were afraid of Charging Party. Fmther, there is no
documented discipline in Charging Party's employee file. Information shows Charging Party's annual
performance evaluations were consistently above average.

According to Respondent, Executive Vice President of Finance & Administration/Chief Financial Officer,
Matthew Schroeder, Caucasian requested Charging Pmty be removed from her position despite not being
Charging Patty's direct supervisor. Schroeder stated he received one email complaint from Swaine.
However, Respondent did not produce the complaint to staff nor could he recall what the complaint was
about.

Documentation shows Charging Party had no documented discipline prior to her termination. Similarly
situated Caucasian employee, Theresa Kovacs, Director of Human Resources Academic and Talent
Development, was demoted for performance issues with no change in pay. In a similar circumstance,
Executive Director of Internal Audit and Chief Compliance Officer, David Cutri, who had documented
performance issues, was placed on a Performance Improvement Plan. Both employees were provided with
the opportunity to improve unlike Charging Party. However, as stated there is no information to support
Charging Party had performance issues.

Witness information supports there were issues regarding recnutmg, time lapses, and delays on
Respondent's Health Science Campus prior to Charging Party assuming the role of Director of
HR/Clinical Services.

Information shows Charging Party and other African American employees who held key leadership
positions within Respondent's Human Resources Depattment were terminated using a 90-day notification.
Respondent alleges the African American employees were terminated for performance issues. All African
American employees were either replaced by newly hired Caucasian employees or their former Caucasian
subordinates.

Charging Party was replaced by her former subordinate, Jennifer Cherry, Caucasian, who at the time of
Charging Party's discharge held no certifications in Human Resources and was paid at a significantly
higher pay rate than Charging Party.

Since 2019, in terms of employees in upper management and leadership positions, Respondent's EEO
data shows that the number of African American employees in upper management positions has decreased
from 2019 to 2021. Information supports Respondent terminated African American employees and
replaced them with Caucasian employees.

Information shows, the Commission has found probable cause in at least six cases involving Respondent
concerning promotions and terminations within the past two years.
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Information supports, Respondent's personnel decisions negatively impact African American employees
and students.

DECISION: (On the issues of denial of promotion and discharge/on the basis of race)
The Ohio Civil Rights Commission determines it is PROBABLE that Respondent has engaged in an
unlawfol discriminatory practice in violation of Ohio Revised Code Chapter 4112. Therefore, the
Commission hereby orders that this matter be scheduled for CONCILIATION.

In accordance with Ohio Revised Code§ 4 l 12.05(A) and Ohio Administrative Code§ 4112-3-03(C), the
Commission invites you to participate in conciliation by informal methods of conference, conciliation,
and persuasion. Enclosed is a draft of the proposed Conciliation Agreement and Consent Order for your
consideration. Brad Adams has been assigned as Conciliator and can be reached by telephone at 419-245-
2911 or by email at Brad.adams@eiv.ohio.gov. Please contact the Conciliator to discuss the
concilia.tion process. If the Commission's attempts at conciliation are unsuccessful, a formal complaint
will be issued, and the ease will be scheduled for a public hearing.

DECISION: (On the issues of denial of promotion and discharge/on the basis of retaliation)
The Ohio Civil Rights Commission determines it is NOT PROBABLE that Respondent has engaged in
an unlawful discriminatory practice in violation of Ohio Revised Code Chapter 4112. Therefore, the
Commission hereby orders that this matter be DISMISSED.

NOTICE OF IUGHT TO REQUEST RECONSIDERATION: (On All Decisions)
Pursuant to Ohio Administrative Code§ 4112-3-04, you have the right to request reconsideration of the
Commission's determination. The application must be in writing and state specifically the grounds upon
which it is based. You must submit the request for reconsideration, along with all additional evidence or
supporting documentation, within TEN (10) days of the date of mailing of this notice. This request must
be sent to the Compliance Department, Ohio Civil Rights Commission, 30 East Broad Street, 5" Floor,
Columbus, Ohio 43215. Any application for reconsideration received after the ten-day period has expired
will be deemed untimely. The Commission's Rules do not permit any employee of the Commission to
grant any extension to this ten-day filing period. Jfyou wish to appear before the Commissioners to present
oral arguments in support or your request for reconsideration, you must specifically make a request to
appear in writing.

       On No Probable Cause Decisions Only:
       Pursuant to Ohio Revised Code 4112.051, if you timely request and are granted reconsideration,
       the enclosed NOTICE OF RIGHT TO SUE will be voided. A new NOTICE OF RIGHT TO SUE
       will be issued once the charge is no longer pending before the Commission if a No Probable Cause
       finding is reached during reconsideration.


FOR DUAL FILED CHARGES ONLY: (On No Probable Cause Decision Only)
If your charge was filed with both the Commission and the U. S. Equal Employment Oppotiunity
Commission (EEOC), you have the right to request that the EEOC conduct a review of the Commission
finding. The request for such a review must be sent directly to the EEOC State and Local Coordinator at
101 W. Ohio St., Suite 1900, Indianapolis, IN 46204.
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To secure such a review, you must request it in writing within FIFTEEN (15) clays of Commission's
finding, unless you request a reconsideration by Commission. In that event, our final finding, and the time
for you to request review by EEOC, will be determined by Commission's action on your reconsideration
request.

NOTICE OF RIGHT TO PETITION FOR JUDICIAL REVillW: (On No Probable Cause Decision
Only)
A determination of the Commission that constitutes a Final Order is subject to judicial review, wherein
the court reviews the contents of this letter and determines ifthere are sufficient factual findings suppo1ting
why the Commission did not issue a complaint. A petition for judicial review must be filed in the proper
common pleas court within THIRTY (30) clays of the date the Commission mailed this Final Order. The
right to obtain judicial review and the mode and procedure thereof is set forth in Ohio Revised Code §
4112.06.

The judicial review process is not a means to reexamine the investigation or further pursue your allegations
through the Commission. You may consult with an attorney for information on available options.

A Probable Cause finding is not a Final Order and is not subject to judicial review by a court. All other
determinations of the Commission constitute a Final Order and are subject to judicial review by a court.

NOTICE OF RIGHT TO WITHDRAW ON A PROBABLE CAUSE DECISION:
Pursuant to Ohio Revised Code 4112.051, you are hereby notified you have a right to withdraw the charge
and file a civil action in any State of Ohio comt that has jurisdiction over the matter. Ohio Revised Code
4112.052 and 4112.14 provides that such a civil action must be filed within two years after the date of the
alleged discriminatory practice. The time period to file a civil action is tolled during the pend ency of the
OCRC investigation. You are advised to consult with an attorney to determine with accuracy the date by
which a civil action must be filed.

Please refer to the enclosed NOTICE OF RIGHT TO SUE for additional information on Charging
Party's suit rights.

FOR THE COMMISSION,

1~ "J, Ltll~
Inder F. Levesque
Toledo Regional Director
IFL/adf


 cc:   Representative for Charging Party:              Representative for Respondent:
       None of Record                                  Drew C. Piersall, Esq.
                                                       Zashin & Rich Co., L.P.A.
                                                       17 South High Street, Suite 900
                                                       Columbus, OH 43215
                                                       dcp@zrlaw.com
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                            OHIO CIVIL RIGHTS COMMISSION
Board of Commissioners:                                                     Angela Phelps-White,
Lori Barreras - Chair                                                       Executive Director
William W. Patmon, III
Madhu Singh
Charlie Winburn
J. Rita McNeil Danish


Charging A. Party,                               )
                                                 )
       Carolyn Chapman                           )
                                                 )
v.                                               ) Charge No. TOL72(41356)03012022
                                                 )            22A-2022-01451C
Respondent,                                      )
                                                 )
       The University of Toledo                  )
                                                 )



                                    NOTICE OF RIGHT TO SUE


         Pursuant to Ohio Revised Code 4112.051, you may file a civil action against the Respondent(s)
alleging a violation of Ohio Revised Code 4112. The lawsuit may be filed in any State of Ohio court that
has jurisdictions over the matter. Ohio Revised Code 4112.052 and 4112.14 provides that such a civil
action must be filed within two years after the date of the alleged discriminato1y practice. The time period
to file a civil action is tolled during the pendency of the Commission investigation. You are advised to
consult with an attorney to dete1mine with accuracy the date by which a civil action must be filed. NOTE:
If you request reconsideration of the Commission's determination, this NOTICE OF RIGHT TO SUE will
be vacated. FOR FEDERAL COURT FILINGS: Notices of Right to Sue under federal law will be issued
by the EEOC.


                                                      FOR THE COMMISSION



                                                      Inder F. LeVesque
                                                      Toledo Regional Director
                                                      640 Jackson St., Suite 936
                                                      Toledo, OH 43604
                                                      419-245-2900
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                                                      Date mailed: December 15, 202'llm-----
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EEOC Forni 161-B (01/2022)            U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                        NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
 To:    Carolyn C hapman                                                            From:     Indianapolis District Office
        9813 Oak Bend Ave                                                                     101 West Ohio St., Suite 1900
        Holland, OH 43528                                                                     Indianapolis, IN 46204



 EEOC Charge No.                                       EEOC Representative                                                     Telephone No.
 22A-2022-01451                                        Jeremy Sells,                                                           (463) 999-1161
                                                       State, Local & Tribal Coordinator

                                                                                              (See also the additional information enclosed w ith this form.)

NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)
        More than 180 days have passed since the filing of this charge.
        The EEOC is terminating its processing of this charge.



Equal Pay Act (EPA): Yo11 already have the right to s11e 11nder the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state co11rt within 2 years (3 years/or willful violations) ofthe alleged EPA 11nde1pay111ent. 171is means that backpay due/or
any violations that occurred more than 2 11ears (3 11ears) before you file suit may not be collectible.


If you file suit, based on this charge, please send a copy of your court complaint to this office.

                                                    On behalf of the Commission


                                                    Digitally Signed By: Michelle Eisele 02/24/2023
 Enclosures(s)                                      Michelle E isele
                                                    District Director


 cc:




        Drew C Piersall
        Zashin & Rich
        17 S. High S t., Ste. 900
        Columbus, OH 43215
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Office of Federal Contract Compliance Programs




Executive Order 11246, As Amended

  Executive Order 11246 - Equal Employment Opportunity
  SOURCE: The provisions of Executive Order 11246 of Sept. 24, 1965, appear at 30 FR 12319, 12935, 3 CFR, 1964-1965 Comp., p.339,
  unless otherwise noted.

  Under and by virtue of the authority vested in me as President of the United States by the Constitution and statutes of the United
  States, it is ordered as follows:


  Part I - Nondiscrimination in Government Employment
  [Part I superseded by EO 11478 of Aug. 8, 1969, 34 FR 12985, 3 CFR, 1966-1970 Comp., p. 803]


  Part II - Nondiscrimination in Employment by Government
  Contractors and Subcontractors
  Subpart A - Duties of the Secretary of Labor
  SEC.201
  The Secretary of Labor shall be responsible for the administration and enforcement of Parts ll and Ill of this Order. The Secretary
  shall adopt such rules and regulations and issue such orders as are deemed necessary and appropriate to achieve the purposes of
  Parts II and Ill of this Order.

  [Sec. 201 amended by EO 12086 of Oct. 5, 1978, 43 FR 46501, 3 CFR, 1978 Comp., p. 230]

  Subpart B - Contractors' Agreements
  SEC.202
  Except in contracts exempted in accordance with Section 204 of this Order, all Government contracting agencies shall include in
  every Government contract hereafter entered into the following provisions:

  During the performance of this contract, the contractor agrees as follows:

         1. The contractor will not discriminate against any employee or applicant for employment because of race, color, religion, sex,
             sexual orientation, gender identity, or national origin. The contractor will take affirmative action to ensure that applicants
             are employed, and that employees are treated during employment, without regard to their race, color, religion, sex, sexual
             orientation, gender identity, or national origin. Such action shall include, but not be limited to the following: employment,
             upgrading, demotion, or transfer; recruitment or recruitment advertising; layoff or termination; rates of pay or other forms of
             compensation; and selection for training, including apprenticeship. The contractor agrees to post in conspicuous places,
             available to employees and applicants for employment, notices to be provided by the contracting officer setting forth the
             provisions of this nondiscrimination clause.
         2. The contractor will, in all solicitations or advancements for employees placed by or on behalf of the contractor, state that all
             qualified applicants will receive consideration for employment without regard to race, color, religion, sex, sexual orientation,
             gender identity, or national origin.
         3. The contractor will not discharge or in any other manner discriminate against any employee or applicant for employment
             because such employee or applicant has inquired about, discussed, or disclosed the compensation of the employee or
             applicant or another employee or applicant. This provision shall not apply to instances in which an employee who has access
             to the compensation information of other employees or applicants as a part of such employee's essential job fu
             discloses the compensation of such other employees or applicants to individuals who do not otherwise have ac
             information, unless such disclosure is in response to a formal complaint or charge, in furtherance of an investig
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     proceeding, hearing, or action, including an investigation conducted by the employer, or is consistent with the contractor's
     legal duty to furnish information.
   4. The contractor will send to each labor union or representative of workers with which he has a collective bargaining
     agreement or other contract or understanding, a notice, to be provided by the agency contracting officer, advising the labor
     union or workers' representative of the contractor's commitments under Section 202 of Executive Order No. 11246 of
     September 24, 1965, and shall post copies of the notice in conspicuous places available to employees and applicants for
     employment.
   5. The contractor will comply with all provisions of Executive Order No. 11246 of Sept. 24, 1965, and of the rules, regulations,
     and relevant orders of the Secretary of Labor.
   6. The contractor will furnish all information and reports required by Executive Order No. 11246 of September 24, 1965, and by
     the rules, regulations, and orders of the Secretary of Labor, or pursuant thereto, and will permit access to his books, records,
     and accounts by the contracting agency and the Secretary of Labor for purposes of investigation to ascertain compliance
     with such rules, regulations, and orders.
   7. In the event of the contractor's noncompliance with the nondiscrimination clauses of this contract or with any of such rules,
     regulations, or orders, this contract may be cancelled, terminated, or suspended in whole or in part and the contractor may
     be declared ineligible for further Government contracts in accordance with procedures authorized in Executive Order No.
     11246 of Sept. 24, 1965, and such other sanctions may be imposed and remedies invoked as provided in Executive Order No.
     11246 of September 24, 1965, or by rule, regulation, or order of the Secretary of Labor, or as otherwise provided by law.
   8. The contractor will include the provisions of paragraphs (1) through (8) in every subcontract or purchase order unless
     exempted by rules, regulations, or orders of the Secretary of Labor issued pursuant to Section 204 of Executive Order No.
     11246 of September 24, 1965, so that such provisions will be binding upon each subcontractor or vendor. The contractor will
     take such action with respect to any subcontract or purchase order as may be directed by the Secretary of Labor as a means
     of enforcing such provisions including sanctions for noncompliance: Provided, however, that in the event the contractor
     becomes involved in, or is threatened with, litigation with a subcontractor or vendor as a result of such direction, the
     contractor may request the United States to enter into such litigation to protect the interests of the United States. {Sec. 202
     amended by EO 11375 of Oct.13, 1967, 32 FR 14303, 3 CFR, 1966-1970 Comp., p. 684, EO 12086 of Oct. 5, 1978, 43 FR 46501, 3
     CFR, 1978 Comp., p. 230, EO 13665 of April 8, 2014, 79 FR 20749, EO 13672 of July 21, 2014, 79 FR 42971]

SEC. 203

   a. Each contractor having a contract containing the provisions prescribed in Section 202 shall file, and shall cause each of his
     subcontractors to file, Compliance Reports with the contracting agency or the Secretary of Labor as may be directed.
     Compliance Reports shall be filed within such times and shall contain such information as to the practices, policies,
     programs, and employment policies, programs, and employment statistics of the contractor and each subcontractor, and
     shall be in such form, as the Secretary of Labor may prescribe,
   b. Bidders or prospective contractors or subcontractors may be required to state whether they have participated in any
     previous contract subject to the provisions of this Order, or any preceding similar Executive order, and in that event to
     submit, on behalf of themselves and their proposed subcontractors, Compliance Reports prior to or as an initial part of their
     bid or negotiation of a contract.
   c. Whenever the contractor or subcontractor has a collective bargaining agreement or other contract or understanding with a
     labor union or an agency referring workers or providing or supervising apprenticeship or training for such workers, the
     Compliance Report shalt include such information as to such labor union's or agency's practices and policies affecting
     compliance as the Secretary of Labor may prescribe: Provided, that to the extent such information is within the exclusive
     possession of a labor union or an agency referring workers or providing or supervising apprenticeship or training and such
     labor union or agency shall refuse to furnish such information to the contractor, the contractor shall so certify to the
     Secretary of Labor as part of its Compliance Report and shall set forth what efforts he has made to obtain such information.
   d. The Secretary of Labor may direct that any bidder or prospective contractor or subcontractor shall submit, as part of his
     Compliance Report, a statement in writing, signed by an authorized officer or agent on behalf of any labor union or any
     agency referring workers or providing or supervising apprenticeship or other training, with which the bidder or prospective
     contractor deals, with supporting information, to the effect that the signer's practices and policies do not discriminate on the
     grounds of race, color, religion, sex, sexual orientation, gender identity, or national origin, and that the signer either will
     affirmatively cooperate in the implementation of the policy and provisions of this Order or that it consents and agrees that
     recruitment, employment, and the terms and conditions of employment under the proposed contract shall be in accordance
     with the purposes and provisions of the order. In the event that the union, or the agency shall refuse to execute such a
     statement, the Compliance Report shall so certify and set forth what efforts have been made to secure such a statement and
     such additional factual material as the Secretary of Labor may require.


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[Sec. 203 amended by EO 11375 of Oct. 13, 1967, 32 FR 14303, 3 CFR, 1966-1970 Comp., p. 684; EO 12086 of Oct. 5, 1978, 43 FR
46501, 3 CFR, 1978 Comp., p. 230, EO 13672 of July 21, 2104, 79 FR 42971]

SEC.204

    a. The Secretary of Labor may, when the Secretary deems that special circumstances in the national interest so require, exempt
      a contracting agency from the requirement of including any or all of the provisions of Section 202 of this Order in any
      specific contract, subcontract, or purchase order.
    b. The Secretary of Labor may, by rule or regulation, exempt certain classes of contracts, subcontracts, or purchase orders {1)
      whenever work is to be or has been performed outside the United States and no recruitment of workers within the limits of
      the United States is involved; {2) for standard commercial supplies or raw materials; (3) involving less than specified amounts
      of money or specified numbers of workers; or (4) to the extent that they involve subcontracts below a specified tier.
    c. Section 202 of this Order shall not apply to a Government contractor or subcontractor that is a religious corporation,
      association, educational institution, or society, with respect to the employment of individuals of a particular religion to
      perform work connected with the carrying on by such corporation, association, educational institution, or society of its
      activities. Such contractors and subcontractors are not exempted or excused from complying with the other requirements
      contained in this Order.
    d. The Secretary of Labor may also provide, by rule, regulation, or order, for the exemption of facilities of a contractor that are
      in all respects separate and distinct from activities of the contractor related to the performance of the contract: provided,
      that such an exemption will not interfere with or impede the effectuation of the purposes of this Order: and provided further,
      that in the absence of such an exemption all facilities shall be covered by the provisions of this Order.

[Sec. 204 amended by EO 13279 of Dec. 16, 2002, 67 FR 77141, 3 CFR, 2002 Comp., p. 77141- 77144]

Subpart C - Powers and Duties of the Secretary of Labor and the Contracting Agencies
SEC. 205
The Secretary of Labor shall be responsible for securing compliance by all Government contractors and subcontractors with this
Order and any implementing rules or regulations. All contracting agencies shall comply with the terms of this Order and any
implementing rules, regulations, or orders of the Secretary of Labor. Contracting agencies shall cooperate with the Secretary of
Labor and shall furnish such information and assistance as the Secretary may require.

[Sec. 205 amended by EO 12086 of Oct. 5, 1978, 43 FR 46501, 3 CFR, 1978 Comp., p. 230]

SEC.206

    a. The Secretary of Labor may investigate the employment practices of any Government contractor or subcontractor to
      determine whether or not the contractual provisions specified in Section 202 of this Order have been violated. Such
      investigation shall be conducted in accordance with the procedures established by the Secretary of Labor.
    b. The Secretary of Labor may receive and investigate complaints by employees or prospective employees of a Government
      contractor or subcontractor which allege discrimination contrary to the contractual provisions specified in Section 202 of
      this Order.

[Sec. 206 amended by EO 12086 of Oct. 5, 1978, 43 FR 46501, 3 CFR, 1978 Comp., p. 230]

SEC.207
The Secretary of Labor shall use his/her best efforts, directly and through interested Federal, State, and local agencies, contractors,
and alt other available instrumentalities to cause any labor union engaged in work under Government contracts or any agency
referrin·g workers or providing or supervising apprenticeship or training for or in the course of such work to cooperate in the
implementation of the purposes of this Order. The Secretary of Labor shall, in appropriate cases, notify the Equal Employment
Opportunity Commission, the Depa1tment of Justice, or other appropriate Federal agencies whenever it has reason to believe that
the practices of any such labor organization or agency violate Title VI or Title Vll of the Civil Rights Act of 1964 or other provision of
Federal law.

[Sec. 207 amended by EO 12086 of Oct. 5, 1978, 43 FR 46501, 3 CFR, 1978 Comp., p. 230]

SEC.208

    a. The Secretary of Labor, or any agency, officer, or employee in the executive branch of the Government designated by rule,
      regulation, or order of the Secretary, may hold such hearings, public or private, as the Secretary may deem advisable for
      compliance, enforcement, or educational purposes.


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    b, The Secretary of labor may hold, or cause to be held, hearings in accordance with Subsection of this Section prior to
      imposing, ordering, or recommending the imposition of penalties and sanctions under this Order. No order for debarment of
      any contractor from further Government contracts under Section 209(6) shall be made without affording the contractor an
      opportunity for a hearing,

Subpart D - Sanctions and Penalties
SEC.209
In accordance with such rules, regulations, or orders as the Secretary of labor may issue or adopt, the Secretary may:

    1. Publish, or cause to be published, the names of contractors or unions which it has con duded have complied or have failed to
      comply with the provisions of this Order or of the rules, regulations, and orders of the Secretary of labor.
    2. Recommend to the Department of Justice that, in cases in which there is substantial or material violation or the threat of
      substantial or material violation of the contractual provisions set forth in Section 202 of this Order, appropriate proceedings
      be brought to enforce those provisions, including the enjoining, within the limitations of applicable law, of organizations,
      individuals, or groups who prevent directly or indirectly, or seek to prevent directly or indirectly, compliance with the
      provisions of this Order.
    3. Recommend to the Equal Employment Opportunity Commission or the Department of Justice that appropriate proceedings
      be instituted under Title VII of the Civil Rights Act of 1964.
    4. Recommend to the Department of Justice that criminal proceedings be brought for the furnishing of false information to any
       contracting agency or to the Secretary of labor as the case may be.
    5. After consulting with the contracting agency, direct the contracting agency to cancel, terminate, suspend, or cause to be
      cancelled, terminated, or suspended, any contract, or any portion or portions thereof, for failure of the contractor or
      subcontractor to comply with equal employment opportunity provisions of the contract. Contracts may be cancelled,
      terminated, or suspended absolutely or continuance of contracts may be conditioned upon a program for future compliance
      approved by the Secretary of labor.
    6. Provide that any contracting agency shall refrain from entering into further contracts, or extensions or other modifications of
      existing contracts, with any noncomplying contractor, until such contractor has satisfied the Secretary of Labor that such
      contractor has established and will carry out personnel and employment policies in compliance with the provisions of this
      Order.

(b) Pursuant to rules and regulations prescribed by the Secretary of labor, the Secretary shall make reasonable efforts, within a
reasonable time \imitation, to secure compliance with the contract provisions of this Order by methods of conference, conciliation,
mediation, and persuasion before proceedings shall be instituted under subsection (a)(2) of this Section, or before a contract shall
be cancelled or terminated in whole or in part under subsection {a)(S) of this Section.

[Sec. 209 amended by EO 12086 of Oct. S, 1978, 43 FR 46501, 3 CFR, 1978 Comp., p. 230]

SEC. 210
Whenever the Secretary of labor makes a determination under Section 209, the Secretary shall promptly notify the appropriate
agency. The agency shall take the action directed by the Secretary and shall report the results of the action it has taken to the
Secretary of Labor within such time as the Secretary shall specify. If the contracting agency fails to take the action directed within
thirty days, the Secretary may take the action directly.

[Sec. 210 amended by EO 12086 of Oct. S, 1978, 43 FR 46501, 3 CFR, 1978 Comp., p 230]

SEC. 211
If the Secretary shall so direct, contracting agencies shall not enter into contracts with any bidder or prospective contractor unless
the bidder or prospective contractor has satisfactorily complied with the provisions of this Order or submits a program for
compliance acceptable to the Secretary of labor.

[Sec. 211 amended by EO 12086 of Oct. 5, 1978, 43 FR 46501, 3 CFR, 1978 Comp., p. 230]

SEC. 212
When a contract has been cancelled or terminated under Section 209(a)(5) or a contractor has been debarred from further
Government contracts under Section 209(a)(6) of this Order, because of noncompliance with the contract provisions specified in
Section 202 of this Order, the Secretary of labor shall promptly notify the Comptroller General of the United States.

[Sec. 212 amended by EO 12086 of Oct. 5, 1978, 43 FR 46501, 3 CFR, 1978 Comp., p. 230]


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        E - 3:22-cv-02151-JGC
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SEC. 213
The Secretary of Labor may provide for issuance of a United States Government Certificate of Merit to employers or labor unions, or
other agencies which are or may hereafter be engaged in work under Government contracts, if the Secretary is satisfied that the
personnel and employment practices of the employer, or that the personnel, training, apprenticeship, membership, grievance and
representation, upgrading, and other practices and policies of the labor union or other agency conform to the purposes and
provisions of this Order.

SEC. 214

Any Certificate of Merit may at any time be suspended or revoked by the Secretary of Labor if the holder thereof, in the judgment of
the Secretary, has failed to comply with the provisions of this Order.

SEC. 215

The Secretary of Labor may provide for the exemption of any employer, labor union, or other agency from any reporting
requirements imposed under or pursuant to this Order if such employer, labor union, or other agency has been awarded a
Certificate of Merit which has not been suspended or revoked,


Part III - Nondiscrimination Provisions in Federally Assisted
Construction Contracts
SEC. 301
Each executive department and agency, which administers a program involving Federal financial assistance shall require as a
condition for the approval of any grant, contract, loan, insurance, or guarantee thereunder, which may involve a construction
contract, that the applicant for Federal assistance undertake and agree to incorporate, or cause to be incorporated, into all
construction contracts paid for in whole or in part with funds obtained from the Federal Government or borrowed on the credit of
the Federal Government pursuant to such grant, contract, loan, insurance, or guarantee, or undertaken pursuant to any Federal
program involving such grant, contract, loan, insurance, or guarantee, the provisions prescribed for Government contracts by
Section 202 of this Order or such modification thereof, preserving in substance the contractor's obligations thereunder, as may be
approved by the Secretary of Labor, together with such additional provisions as the Secretary deems appropriate to establish and
protect the interest of the United States in the enforcement of those obligations. Each such applicant shall also undertake and
agree (1) to assist and cooperate actively with the Secretary of Labor in obtaining the compliance of contractors and subcontractors
with those contract provisions and with the rules, regulations and relevant orders of the Secretary, (2) to obtain and to furnish to
the Secretary of Labor such information as the Secretary may require for the supervision of such compliance, (3) to carry out
sanctions and penalties for violation of such obligations imposed upon contractors and subcontractors by the Secretary of Labor
pursuant to Part II, Subpart D, of this Order, and (4) to refrain from entering into any contract subject to this Order, or extension or
other modification of such a contract with a contractor debarred from Government contracts under Part II, Subpart D, of this Order.

[Sec. 301 amended by EO 12086 of Oct. 5, 1978, 43 FR 46501, 3 CFR, 1978 Comp., p. 230]


SEC.302
    a. "Construction contract" as used in this Order means any contract for the construction, rehabilitation, alteration, conversion,
      extension, or repair of buildings, highways, or other improvements to real property.
    b. The provisions of Part II of this Order shall apply to such construction contracts, and for purposes of such application the
      administering department or agency shall be considered the contracting agency referred to therein.
    c. The term "applicant" as used in this Order means an applicant for Federal assistance or, as determined by agency regulation,
      other program participant, with respect to whom an application for any grant, contract, loan, insurance, or guarantee is not
      finally acted upon prior to the effective date of this Part, and it includes such an applicant after he/she becomes a recipient
      of such Federal assistance.


SEC. 303
    a. The Secretary of Labor shall be responsible for obtaining the compliance of such applicants with their undertakings under
      this Order. Each administering department and agency is directed to cooperate with the Secretary of Labor and to furnish the
      Secretary such information and assistance as the Secretary may require in the performance of the Secretary's functions
      under this Order.
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    b. Case:
       In theCase:
                3:22-cv-02151-JGC
             event an 3:23-cv-01022-JJH
                      applicant fails and refusesDoc Doc
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                                                                                                                         Secretary
       of Labor may, after consulting with the administering department or agency, take any or all of the following actions: (1)
       direct any administering department or agency to cancel, terminate, or suspend in whole or in part the agreement, contract
       or other arrangement with such applicant with respect to which the failure or refusal occurred; (2) direct any administering
       department or agency to refrain from extending any further assistance to the applicant under the program with respect to
       which the failure or refusal occurred until satisfactory assurance of future compliance has been received by the Secretary of
       Labor from such applicant; and (3) refer the case to the Department of Justice or the Equal Employment Opportunity
       Commission for appropriate law enforcement or other proceedings.
    c. In no case shall action be taken with respect to an applicant pursuant to clause (1) or (2) of subsection (b) without notice and
       opportunity for hearing.

[Sec. 303 amended by EO 12086 of Oct. 5, 1978, 43 FR 46501, 3 CFR, 1978 Comp., p. 230]


SEC. 304
Any executive department or agency which imposes by rule, regulation, or order requirements of nondiscrimination in
employment, other than requirements imposed pursuant to this Order, may delegate to the Secretary of labor by agreement such
responsibilities with respect to compliance standards, reports, and procedures as would tend to bring the administration of such
requirements into conformity with the administration of requirements imposed under this Order: Provided, That actions to effect
compliance by recipients of Federal financial assistance with requirements imposed pursuant to Title VI of the Civil Rights Act of
1964 shall be taken in conformity with the procedures and limitations prescribed in Section 602 thereof and the regulations of the
administering department or agency issued thereunder.


Part IV - Miscellaneous
SEC.401
The Secretary of Labor may delegate to any officer, agency, or employee in the Executive branch of the Government, any function
or duty of the Secretary under Parts 11 and Ill of this Order.

[Sec. 401 amended by EO 12086 of Oct. 5, 1978, 43 FR 46501, 3 CFR, 1978 Comp., p. 230]


SEC.402
The Secretary of Labor shall provide administrative support for the execution of the program known as the "Plans for Progress."


SEC.403
    a. Executive Orders Nos.10590 (January 19, 1955), 10722 (August 5, 1957), 10925 (March 6, 1961), 11114 (June 22, 19631, and
      11162 {July 28, 1964), are hereby superseded and the President's Committee on Equal Employment Opportunity established
      by Executive Order No. 10925 is hereby abolished. All records and property in the custody of the Committee shall be
      transferred to the Office of Personnel Management and the Secretary of Labor, as appropriate.
    b. Nothing in this Order shall be deemed to relieve any person of any obligation assumed or imposed under or pursuant to any
      Executive Order superseded by this Order. All rules, regulations, orders, instructions, designations, and other directives
      issued by the President's Committee on Equal Employment Opportunity and those issued by the heads of various
      departments or agencies under or pursuant to any of the Executive orders superseded by this Order, shall, to the extent that
      they are not inconsistent with this Order, remain in full force and effect unless and until revoked or superseded by
      appropriate authority. References in such directives to provisions of the superseded orders shall be deemed to be references
      to the comparable provisions of this Order.

[Sec. 403 amended by EO 12107 of Dec. 28, 1978, 44 FR 1055, 3 CFR, 1978 Comp., p, 264]


SEC.404
The General Services Administration shall take appropriate action to revise the standard Government contract forms to accord with
the provisions of this Order and of the rules and regulations of the Secretary of Labor.




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 This Order shall become effective thirty days after the date of this Order.




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